     Case 2:23-cv-00644-MJH Document 1-3 Filed 04/19/23 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                     )
DEVELOPMENT, INC.,                   )
                                     )
            Plaintiff,               )
                                     ) No.
    v.                               )
                                     )
MARIO SCORZA,                        )
                                     )
            Defendant.               )

                               Exhibit 2

                February 2, 2023 Scheduling Order #11
           Case 2:23-cv-00644-MJH Document 1-3 Filed 04/19/23 Page 2 of 2




 Case Number: 01-21-0004-6369

 Mario Scorza
 -vs-
 Davison Design & Development, Inc.



                                        Scheduling Order #11



          As discussed at the final day of the evidentiary hearing, Claimant’s attorneys fees petition

and rebuttal evidence shall be filed on or before February 15, 2023. The parties shall file post-

hearing briefs on or before March 3, 2023. Post-hearing briefs may not exceed 30 pages in

length.




Dated: February 2, 2023                 Arbitrator Signature:
                                                                Scott D. Livingston




{A1769022.1}
